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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

JANE DOE, et al. Civil Action No.: 1:20 — CV — 0840
(BKS/CFH)
Plaintiffs,
vs. ORDER TO SHOW CAUSE
HOWARD ZUCKER, et al.
Defendants.

ORDER TO SHOW CAUSE
FOR PRELIMINARY INJUNCTION AND TEMPORARY RESTRAINING ORDER

Upon the annexed: (i) declaration of Sujata Gibson, Esq., sworm to the 24 day of August,

2020 and the exhibits annexed thereto; (ii) Plaintiffs’ Memorandum of Law in Support of its
Motion for preliminary injunction and temporary restraining order; and (iii) the annexed
declarations of named plaintiffs, class members; and medical and educational professionals;

and (iv) the annexed complaint, it is hereby

ORDERED, that the defendants in the above-named lawsuit show cause before this
Court, at Room in the United States District Court for the Northern District of
New York, located at 100 South Clinton Street, in Syracuse, New York 13261 on

, 2020 at a.m./p.m. or as soon thereafter as

counsel may be heard, why an order should not be issued pursuant to Rule 65 of the Federal

Rules of Civil Procedure:
ORDER TO SHOW CAUSE - 1

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1) Staying the new regulations pertaining to the medical exemption from school immunization
requirements codified in 10 NYCRR §66-1;

2) Enjoining defendants from excluding children from school due to lack of immunization if
such child has presented a certification from a licensed physician advising against such
immunization; and

3) Ordering the Defendants to provide notice to schools, districts, and families that Plaintiffs
and similarly situated children may attend school and access federally protected programs;

and

4) Forsuch other and further relief as the Court deems just and appropriate; and it is further

ORDERED that, sufficient reason having been shown pending the hearing of the
plaintiff's application fora preliminary injunction, but in no event beyond fourteen days from the
start of school in September 2020, unless extended by the Court, the defendants are temporarily
restrained and enjoined from

1) Implementing and enforcing the new regulations pertaining to the medical exemption from

school immunization requirements codified in 10 NYCRR §66-1;

2) Excluding children from school due to lack of immunization if such child has presented a
certification from a licensed physician advising against such immunization; and

3) Forsuch other and further relief as the Court deems just and appropriate; and it is further

ORDERED, that no security should be required of the plaintiffs because defendant

would incur no additional expenses from the relief sought herein; and it is further

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ORDERED, that service of a copy of this order upon the defendants or their counsel on

or before , at at a.m./p.m. via email to

counsel or personal service if on defendant, shall be deemed good and sufficient service thereof;

and it is further

ORDERED, that opposing papers, if any, shall be served by e-mail upon Sujata S.

Gibson, Esq., The Gibson Law Firm, PLLC attorneys for the plaintiff, at sujata@gibsonfirm.law

and Michael Sussman, Esq., Sussman & Associates at sussman1@frontiernet.net received on or

before , at a.m./p.m.

DATED:

United States District Judge

ORDER TO SHOW CAUSE - 3

